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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA


TUOC LE                                CIVIL ACTION NO. 16-16374

versus                                 SECTION: “I” (1)

TRIPLE C ENTERPRISE, INC. OF
LOUISIANA, ET AL



                          ORDER OF DISMISSAL



     The Court having been advised by counsel for the parties

that all of the parties to this action have firmly agreed upon a

compromise,

     IT IS ORDERED that the action be and it is hereby dismissed

without prejudice to the right, upon good cause shown, within a

reasonable time, to reopen the action or to seek summary judgment

enforcing the compromise if settlement is not consummated.          The

Court retains jurisdiction for all purposes, including enforcing
the settlement agreement entered into by the parties.
     COUNSEL ARE REMINDED THAT, if witnesses have been

subpoenaed, EVERY WITNESS MUST be notified by counsel not to
appear.

     New Orleans, Louisiana, this 11th day of July, 2017.



                                       LANCE M. AFRICK
                                       UNITED STATES DISTRICT JUDGE
